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                                 #:2367




                EXHIBIT A

             FLSA
          SETTLEMENT
          AGREEMENT
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                                 #:2368
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                                  #:2381
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                                  #:2382


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         2029 Century Park East, Suite 3500
         Los Angeles, California 90067
         Telephone: (310) 277-7200
         Fax: (310) 201-5219
         Email: jporcaro@seyfarth.com


THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF ALL CLAIMS HAS
BEEN READ AND FULLY UNDERSTOOD BEFORE SIGNING THIS AGREEMENT.


 PLAINTIFF SARAH PONDER                         DEFENDANT PAPA JOHN’S
                                                INTERNATIONAL, INC.

                                                By:
                                                Printed Name:
       03-22-2020
 Date: __________________                       Title:

                                                Date: __________________




                               Settlement And Release Agreement
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                                  #:2384


 ATTORNEYS FOR PLAINTIFFS:               ATTORNEYS FOR DEFENDANT:



 _____________________________________   _____________________________________
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 Ricardo J. Prieto                       Michael D. Jacobsen
 Melinda Arbuckle                        SEYFARTH SHAW LLP
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 Email: marbuckle@eeoc.net               Jill A. Porcaro
                                         SEYFARTH SHAW LLP
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                        Settlement And Release Agreement
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                                  #:2385


 ATTORNEYS FOR PLAINTIFFS:               ATTORNEYS FOR DEFENDANT:



 _____________________________________   _____________________________________
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 Fax: (713) 621-0993                     Email: gmaatman@seyfarth.com
 Email: tslobin@eeoc.net                 Email: mjacobsen@seyfarth.com
 Email: rprieto@eeoc.net
 Email: marbuckle@eeoc.net               Jill A. Porcaro
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                                         Los Angeles, California 90067
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 VAUGHT FIRM, LLC                        Email: jporcaro@seyfarth.com
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 Dallas, Texas 75201                     Amanda I. Fry
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 Fax: (214) 261-5159                     601 South Figueroa Street, Suite 3300
 Email: allen@vaughtfirm.com             Los Angeles, California 90017
                                         Telephone: (213) 270-9600
                                         Fax: (213) 270-9601
                                         Email: afry@seyfarth.com




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                        EXHIBIT A
                     Participating Opt-In Plaintiffs
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                                  #:2388


             Number        Last Name     First Name   Date Joined
             1        Andres           Bryce                7/17/2018
             2        Billings         Tanner               9/10/2019
             3        Dixon            Ashley               6/18/2019
             4        Elliott          Kristina              8/6/2018
             5        Lee              Rami                 7/15/2019
             6        Salamin          Tariq                8/16/2018
             7        Sanchez          Realena              9/13/2018
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                        EXHIBIT B
                      Franchisee Opt-In Plaintiffs
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             Number       Last Name      First Name   Date Joined
             1        Abukhzaam        Amad                 7/2/2018
             2        Arnold           Steven              8/16/2018
             3        Berg             Jamie               7/16/2019
             4        Bisping          Jennifer             8/6/2018
             5        Brooks           Sandra               9/4/2018
             6        Brown            Cynthia             9/14/2018
             7        Brown            Hayley              7/25/2018
             8        Carroll          Justin              6/26/2018
             9        Castaneda        Yoshua              7/16/2018
             10       Coleman          Donnell              7/9/2019
             11       Colvin           Daniel              7/27/2018
             12       Copprell         Richard             7/20/2018
             13       Davis            Lauren               9/6/2018
             14       Dunn             David               7/16/2018
             15       Edwards          Dorothy             9/17/2018
             16       Egan             Kristi              7/17/2018
             17       Elliott          Nicholas            6/25/2018
             18       Ellis            James               9/13/2018
             19       Estes            Kristy              7/16/2018
             20       Evans            Sara                7/15/2019
             21       Faulkner         Brittany             7/6/2018
             22       Feagan           Destiny              7/6/2018
             23       Fields           Ethan               7/16/2018
             24       Fillmore         Benjamin            9/11/2019
             25       Finley           Alan                8/27/2019
             26       Fletcher         JT                   8/6/2018
             27       Foy              Jerrod              8/15/2018
             28       Freeman          Rebekah             6/25/2018
             29       Futema           Shaun               9/11/2018
             30       Garcia           Frances             7/19/2018
             31       Garcia           Julia                9/7/2018
             32       Gerhard          Matthew             9/11/2018
             33       Goodrich         Brianna             8/30/2018
             34       Guzman           Michelle            8/22/2018
             35       Hall             Angela              6/25/2018
             36       Hamilton         Towanna             9/12/2018
             37       Hansford         Chad                7/26/2018
             38       Harris           Suzanne             9/13/2018
             39       Hawn             Nichole              9/4/2018
             40       Hernandez        Kaylenn             7/27/2018
             41       Hill-Robinson    Jessica              7/6/2018
             42       Hilson           Meosha             10/18/2018



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             Number      Last Name      First Name   Date Joined
             43       Hitchcock       Joshua               7/6/2018
             44       Hoff            Lyle                8/22/2018
             45       Howlett         Liam                7/11/2018
             46       Johnson         Marcus               8/6/2018
             47       Johns-Rimmer    Anna                7/16/2018
             48       Joseph          Shaquille           7/20/2018
             49       Kay             Michael             7/16/2019
             50       Ladin           Kevin               5/17/2018
             51       Levesque        Sara                7/16/2018
             52       Lobb            Brodie              7/16/2018
             53       Mackey          Phaelann             8/3/2018
             54       Maltbie         Caitlin             5/17/2018
             55       Marquez         Anna               10/21/2019
             56       Maslin          Linda               9/26/2018
             57       Matos           Daniel              7/18/2018
             58       May             Kimberly            9/13/2018
             59       McDowell        Kalynn               8/7/2019
             60       Mellon          Robyn               9/28/2018
             61       Monroe          Duane               10/1/2018
             62       Morris          Devonta              8/3/2018
             63       Nelms           Tina                8/13/2018
             64       Pelfrey         Richard              9/6/2019
             65       Pike            Lianna              6/25/2018
             66       Polk            Patricia            7/11/2019
             67       Preis           Robert              7/27/2018
             68       Ramirez         Noe                 5/17/2018
             69       Sewpersaud      Shane               5/17/2018
             70       Shepherd        Arbin               8/10/2018
             71       Sofos           Andrew              9/14/2018
             72       Soto            Jean                5/17/2018
             73       Southern        Anthony              8/2/2018
             74       Sunnerville     Jaydon               7/6/2018
             75       Thomas          Lauren               8/6/2018
             76       Thomas          Shawn               8/23/2018
             77       Thompson        Martha               9/5/2018
             78       Tolen           King                9/11/2018
             79       Twine           Gabriel             5/17/2018
             80       Varney          Florina             7/22/2019
             81       Washington      Erica               5/17/2018
             82       Wells           Destiny             10/3/2018
             83       Whaley          Michael             7/18/2018
             84       White           Mahesh              5/17/2018



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             Number      Last Name      First Name   Date Joined
             85       Williams        Savannah             7/6/2018
             86       Wilson          Mary                8/16/2018
             87       Wright          Kevonne             7/16/2018




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                        EXHIBIT C
               Participating Plaintiff Settlement Notice
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 Avalos, et al. v. Papa John’s International, Inc., et al., 18-CV-00871 (C.D. Cal.)
            The Court in this case authorized this notice. This is not a solicitation.

                 This is not a lawsuit against you and you are not being sued.

             However, your legal rights are affected whether you act or don’t act.


                 NOTICE OF COLLECTIVE ACTION SETTLEMENT,

                    YOUR RIGHTS, AND OPTIONS TO CONSIDER
If you were employed by Papa John’s International, Inc. (“PJI”) as a non-exempt hourly-paid
employee, who worked at any location in the United States owned by PJI at any time between
May 17, 2015 and January 21, 2020, and completed training using the Cornerstone Learning
Management System, YOU MAY RECEIVE MONEY FROM THE COURT-APPROVED
COLLECTIVE ACTION SETTLEMENT DESCRIBED HEREIN IF YOU FOLLOW THE
CLAIMS PROCEDURE EXPLAINED IN THIS NOTICE.

UNDER THE SETTLEMENT, FOR EVERY WORKWEEK DURING THE TIME PERIOD
OF MAY 17, 2015 THROUGH JANUARY 21, 2020, IN WHICH YOU WORKED, YOUR
ESTIMATED PAYMENT FOR EACH SUCH WEEK IS BASED ON YOUR PRO RATA
SHARE OF WORKWEEKS IN COMPARISON WITH ALL WORKWEEKS WORKED BY
ALL MEMBERS OF THE COLLECTIVE ACTION, AS WELL AS BASED ON WHETHER
YOU ARE SUBJECT TO AN ARBITRATION AGREEMENT WITH PJI. ALL PAYMENTS
ARE SUBJECT TO APPLICABLE TAXES, HOWEVER PJI WILL BE SOLELY
RESPONSIBLE FOR THE EMPLOYER-SIDE PORTION OF PAYROLL TAXES.

TO CLAIM YOUR SHARE OF THE SETTLEMENT: You must complete, sign, date &
mail the enclosed Consent, Claim Form and Release postmarked on or before [insert date that is
60 days of mailing notice packets].
      IMPORTANT NOTE: PJI SUPPORTS THE SETTLEMENT AND WILL NOT
      RETALIATE IN ANY WAY AGAINST ANY COLLECTIVE ACTION MEMBER WHO
      PARTICIPATES IN THE SETTLEMENT
                           PLEASE READ THIS NOTICE CAREFULLY




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1.     What Is The Purpose Of This Notice?

The purpose of this Notice is to let you know that there is a collective action lawsuit pending in the
U.S. District Court for the Central District of California, that you may be a member of the Collective
Action in this lawsuit, AND THAT YOU MAY BE ENTITLED TO A PAYMENT AS PART OF THE
SETTLEMENT OF THIS ACTION.

On May 17, 2018, Plaintiffs Sofia Avalos, Louis Breazil, Jared Carroll, and Alvin English filed a
lawsuit against PJI in the U.S. District Court for the Central District of California, Case No. 8:18-CV-
00871, seeking unpaid wages under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219, as
a collective action, along with separate class claims under California and New York state law. On
[___], the lawsuit was amended to name Sarah Ponder as an additional Plaintiff and to strike all of the
class and/or collective claims of the other Plaintiffs. Sarah Ponder is known as “Plaintiff” or
“Collective Action Representative.” Together, Plaintiff and PJI are known as “the Parties.”

This lawsuit alleges that during the time period alleged, PJI required Plaintiff and other similarly
situated persons to engage in mandatory training through its corporate website without paying them for
the time they spent performing such work and that, as a result, Plaintiff and the other similarly situated
persons were denied minimum wages and/or overtime wages in violation of the FLSA. PJI denies
those allegations.

On December 27, 2019, after good-faith, arms-length negotiations presided over by two experienced
and well-respected mediators, the Parties reached an agreement to settle this lawsuit (“Settlement”).

The Settlement represents a compromise and settlement of highly disputed claims. Nothing in the
Settlement is intended to or will be construed as an admission by PJI that Plaintiff’s claims in this
lawsuit have merit or that it has any liability to Plaintiff or the Collective Action Members on those
claims.

Plaintiff, PJI, and their respective counsel have concluded that the Settlement is advantageous
considering the risks and uncertainties to each side of continued litigation. The Parties and their
counsel have determined that the Settlement is fair, reasonable, and adequate and is in the best interests
of all Parties and Collective Action Members.

On [____], the Court entered an order that:

       1.     Certified the Collective Action for settlement purposes only;
       2.     Granted approval of the proposed Settlement;
       3.     Ordered that the law firms of Shellist Lazarz Slobin LLP, and Vaught Firm, LLC shall
              serve as Collective Action Counsel;
       4.     Ordered that Sarah Ponder shall serve as Collective Action Representative;



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       5.     Granted approval of this Notice, which includes a schedule and procedures for each
              potential claimant to file a Consent, Claim Form and Release; and
       6.     Ordered dismissal of the claims of Sarah Ponder and the Participating Plaintiffs who sign
              and return the Consent, Claim Form and Release, with prejudice; and entering final
              judgment dismissing them from the Litigation.

The following is a summary of the Settlement provisions. The specific and complete terms of the
proposed Settlement are stated in the Settlement and Release Agreement, a copy of which is filed
with the Clerk of the Court, U.S. District Court, Central District of California.

2.     Why Did Plaintiff Seek Settlement Approval?

Plaintiff seeks approval of the Settlement because she reached a proposed Settlement with PJI which
she believes is fair, reasonable, adequate, and in the best interests of the Collective Action Members
and all Parties.

3.     What Is PJI’s Positions On Settlement?

PJI views this Settlement as a compromise and an effort to avoid additional litigation expenses. It is
not admitting to the allegations in the lawsuit. PJI denies that any of its practices at issue in this lawsuit
were, or are, unlawful and reserves the right to object to all claims if the Settlement is not finalized for
any reason. The Court file has the Settlement documents with more information on this lawsuit and the
proposed Settlement.

4.     Why Did I Get This Notice?

You received this notice because PJI’s records identify you as a potential member of the Collective
Action Settlement. You may submit the enclosed Consent, Claim Form and Release to get your share
of the Settlement if: (1) you were employed by PJI; (2) as a non-exempt, hourly-paid employee; (3)
who worked at any location in the United States owned by PJI between May 17, 2015 and January 21,
2020; and (4) completed training using the Cornerstone Learning Management System.

5.     Who Are The Parties In This Collective Action?

Sarah Ponder is the Plaintiff in this action on behalf of herself and on behalf of all similarly situated
former and current employees working as defined above.

Papa John’s International, Inc. is the Defendant.

6.    What Will I Receive From The Settlement And What Is The Method For Calculating
Settlement Payments?

PJI will make a Settlement Payment based on the settlement formula set forth below to each individual
who returns the enclosed Consent, Claim Form and Release signed, dated, and postmarked on or before


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[____] (“Collective Action Member”). Each Collective Action Member who has submitted a signed,
dated and timely postmarked Consent, Claim Form and Release will receive her or his proportional
share of the Settlement based on the number of workweeks she or he worked during the relevant period
of time in relation to the number of workweeks worked by all Collective Action Members, as well as
based on whether the Collective Action Member is subject to an arbitration agreement with PJI.
Settlement Payments to Collective Action Members for tax purposes will be treated as follows: 50% of
the payment to Plaintiff and each Collective Action Member shall constitute wages from which the
employer’s and employee’s applicable payroll taxes shall be withheld, and reported on an IRS Form
W-2. The remaining 50% of the Settlement Payment to Plaintiff and each Collective Action Member
shall constitute liquidated damages and/or penalties reported on an IRS Form 1099.

Under the Settlement, you are eligible to receive an estimated payment (your share of the Settlement)
based on a pro rata share of the Net Settlement Fund (the funds available for distribution to the
Collective Action Members after subtracting amounts for gift cards, a reasonable service award,
attorneys’ fees, costs of litigation, settlement administration, and any other costs). First, your total
number of workweeks will be calculated. Second, your total number of workweeks shall then be
reduced by 50% if you are subject to an arbitration agreement with PJI. Third, your resulting total
number of workweeks (following the 50% reduction, if applicable) shall be divided by the sum of all
the workweeks of all of the Collective Action Members (following the 50% reduction for those
Collective Action Members who are subject to an arbitration agreement with PJI), and the resulting
fraction shall be multiplied by the Net Settlement Fund amount.

For instance, if you worked a total of 100 such workweeks during the relevant period and are subject to
an arbitration agreement with PJI, the gross amount of your Settlement Payment would be calculated as
follows:

(100 workweeks x 50%) / 2,091,770 (total number of workweeks worked by Collective Action
Members, following the 50% reduction for those Collective Action Members who are subject to an
arbitration agreement with PJI) x $2,105,400 (Net Settlement Fund amount) = $50.33

As another example, if you worked a total of 100 such workweeks during the relevant period and are
not subject to an arbitration agreement with PJI, the gross amount of your Settlement Payment would
be calculated as follows:

100 workweeks / 2,091,770 (total number of workweeks worked by Collective Action Members,
following the 50% reduction for those Collective Action Members who are subject to an arbitration
agreement with PJI) x $2,105,400 (Net Settlement Fund amount) = $100.65

Based on the formula described above, your Settlement Payment is estimated to be: [___].

Your Settlement Payment will be mailed to you no later than forty-four (44) days after the Settlement
Administrator has received your timely and correctly completed Consent, Claim Form and Release.




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7.    Who Are The Attorneys Representing The Parties?

 For Plaintiff and the Collective Action          For PJI:
 (“Collective Action Counsel”):

 Todd Slobin                                      Gerald L. Maatman, Jr.
 Ricardo J. Prieto                                Michael D. Jacobsen
 Melinda Arbuckle                                 SEYFARTH SHAW, LLP
 SHELLIST LAZARZ SLOBIN LLP                       233 South Wacker Drive, Suite 8000
 11 Greenway Plaza, Suite 1515                    Chicago, Illinois 60606
 Houston, Texas 77046                             Telephone: (312) 460-5000
 Telephone: (713) 621-2277                        Fax: (312) 460-7000
 Fax: (713) 621-0993                              Email: gmaatman@seyfarth.com
 Email: tslobin@eeoc.net                          Email: mjacobsen@seyfarth.com
 Email: rprieto@eeoc.net
 Email: marbuckle@eeoc.net                        Jill A. Porcaro
                                                  SEYFARTH SHAW LLP
 Allen R. Vaught                                  2029 Century Park East, Suite 3500
 VAUGHT FIRM, LLC                                 Los Angeles, California 90067
 1910 Pacific Avenue, Suite 9150                  Telephone: (310) 277-7200
 Dallas, Texas 75201                              Fax: (310) 201-5219
 Telephone: (214) 675-8603                        Email: jporcaro@seyfarth.com
 Fax: (214) 261-5159
 Email: allen@vaughtfirm.com



8.    What Is The Proposed Settlement?

A.    Gross Settlement Amount.

PJI has agreed to pay all valid and timely claims of Collective Action Members through the Settlement
Administrator in accordance with the terms of the Settlement Agreement. The Settlement is funded up
to Three Million Four Hundred Thousand Dollars ($3,400,000.00), the “Gross Settlement Amount.”
After deductions in the amounts as set forth below, the remaining sum will be allocated entirely on a
proportional basis to all Collective Action Members who submit timely Consents, Claim Forms and
Releases (“Net Settlement Fund”).

B.    Franchisee Plaintiff Gift Cards.

The four individuals who initiated this lawsuit against PJI and 88 other individuals who have opted-in
to participate in this lawsuit since then were not employed by PJI at PJI’s corporate-owned stores but
rather are understood to have worked at various independently owned and operated Papa John’s



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franchisees. These individuals are eligible to receive Papa John’s gift cards to resolve their claims.
The cost of the gift cards will be deducted from the Settlement. The gift cards are estimated to be $50.

C.     Collective Representative Service Award.

The Court has awarded Plaintiff a separate payment in the amount of $5,000 for serving as
representative for the Collective Action Members, including her willingness to accept the risk for the
payment of costs in the event of an unsuccessful outcome. The Collective Action Representative
Service Award will be deducted from the Gross Settlement Amount. PJI did not oppose this request.

D.     Attorneys’ Fees And Litigation Expenses Of Collective Action Counsel.

The Court awarded Collective Action Counsel their fair and reasonable attorneys’ fees and costs in
their representation of Plaintiff in this matter. Collective Action Counsel will receive payment of
attorneys’ fees in an amount of $1,020,000 plus an estimated $80,000 in litigation costs, which will be
deducted from the Gross Settlement Amount.

E.     Settlement Administration Costs And Expenses.

The costs of administering the Settlement will be deducted from the Settlement and are subject to Court
approval. The settlement administration expenses are estimated to be $185,000.

9.     What Are My Rights With Regard To This Matter?

If you are a Member of the Collective Action eligible to participate in this Settlement, you have two
options. Each option has its own consequences, which you should understand before making your
decision. Your rights regarding each option, and the procedure you must follow to select each option,
follow.

A. Option One: Participation As A Collective Action Member.

To get a share from the Settlement you must sign and date the enclosed Consent, Claim Form and
Release, and return it to the Settlement Administrator in the envelope enclosed for your convenience,
or to the address shown below, post-marked on or before [____].

       [Insert address here]

It is strongly recommended that you retain proof of your timely mailing until receipt of your
Settlement Payment.

Collective Action Counsel, appointed and approved by the Court for Settlement purposes only, will
represent you. The Settlement Administrator will process your Consent, Claim Form and Release and
send you a check at a later date.

B. Option Two: Do Nothing.


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                                       Questions? Call [Phone Number]
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If you do not return a signed, dated, and timely postmarked Consent, Claim Form and Release, you will
not receive a Settlement Payment, and you will not release any claims against PJI.

C.     Binding Nature Of Release And Judgment.

The Release of Claims, shown below, and subsequent judgment will only bind Collective Action
Members who have returned a dated, signed and timely Consent, Claim Form and Release.

10.    Release Of All Wage & Hour Claims.

By signing and timely returning the Consent, Claim Form and Release, and further by signing the back
of the settlement payment check, you and each of your respective past, present, and future attorneys,
agents, heirs, guardians, executors, administrators, and representatives releases all wage and hour
claims made against PJI and its affiliates, related companies, and independent contractors, pursuant to
any alleged employment/joint-employment relationship or apparent agency, or that reasonably could
have arisen out of the same facts alleged in the Fifth Amended Complaint, whether known or unknown,
accrued to this date including but not limited to any and all claims under the FLSA; any and all claims
arising out of any state wage, minimum wage, or overtime laws; and any claims relating to unpaid
wages, minimum wage, and overtime compensation against PJI and its affiliates, related companies,
and independent contractors, pursuant to any alleged employment/joint-employment relationship or
apparent agency, accrued to this date, including any of these entities’ predecessors and successors and,
in their capacities as such, all of their present, past, and future directors, officers, employees,
representatives, attorneys, insurers, reinsurers, agents and assigns, as well as all of these entities’
affiliates, parent or controlling corporations, partners, divisions and subsidiaries.

Further, the Parties agree that they shall request the Court to enter an order with settlement bar
provisions providing that any Members who timely file a Consent, Claim Form and Release and who
receive a settlement check shall be deemed to have released any and all wage claims limited to the
factual allegations asserted in the Fifth Amended Complaint against PJI.

If the Settlement does not become final for any reason, the litigation will continue.

11.    Additional Important Information.

You will receive a Settlement Payment only if you return a signed and dated Consent, Claim Form and
Release post-marked on or before [____].

It is your responsibility to ensure that the Settlement Administrator has received your timely Consent,
Claim Form and Release. You may contact the Settlement Administrator at the toll-free number listed
at the bottom of each page to confirm it has been timely received. It also is your responsibility to keep
a current address on file with the Settlement Administrator to ensure that you receive your Settlement
Payment.




                                                 Page 7 of 8
                                       Questions? Call [Phone Number]
                                  Claim Postmark Deadline: _________, 2020
      Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 35 of 48 Page ID
                                        #:2401


12.    Who Can I Contact If I Have Further Questions?

The Court-appointed Settlement Administrator for this Collective Action Settlement is:
                                                  [NAME]
                                                [ADDRESS]
                                           [TELEPHONE NUMBER]

PLEASE DO NOT CALL THE COURT, PJI, or its supervisors, managers, human resources,
etc., or attorneys to discuss this Settlement.

If you have questions, you may call the Settlement Administrator, toll free at [ ].

Ask about the Avalos Settlement.

You may also call any of the attorneys listed as Collective Action Counsel in Section VII above.




                                                  Page 8 of 8
                                        Questions? Call [Phone Number]
                                   Claim Postmark Deadline: _________, 2020
Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 36 of 48 Page ID
                                  #:2402




                        EXHIBIT D
     Participating Plaintiff Consent, Claim Form and Release
      Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 37 of 48 Page ID
                                        #:2403
                           CONSENT, CLAIM FORM AND RELEASE
                                Avalos, et al. v. Papa John’s International,, Inc., et al.,
                                         Case No. 8:18-CV-00871 (C.D. Cal.)


Name: __________________________________

Address: _________________________________


                                               INSTRUCTIONS
If you wish to participate in the Collective Action Settlement in this litigation and receive your share of the
Settlement Proceeds described in the accompanying Notice of Collective Action Settlement, YOU MUST
COMPLETE, SIGN, DATE AND RETURN THIS CONSENT, CLAIM FORM, AND RELEASE
POSTMARKED ON OR BEFORE [____, 2020], IN THE ENCLOSED POSTAGE-PAID RETURN
ENVELOPE OR BY FIRST-CLASS U. S. MAIL, OR THE EQUIVALENT, TO THE FOLLOWING
ADDRESS:
                               [Settlement Administrator Contact Information]
                                                _________
                                        Toll-Free: 1-800-________
You should keep a copy of the completed Consent, Claim Form and Release (“Claim Form”), and the
envelope reflecting the postmark date on which you mailed the Claim Form for your records. Failure
to provide any of the information requested may delay verification of the claim or result in rejection of
the claim. If you would like an acknowledgment of receipt for these documents, you may call the
Settlement Administrator at the toll-free number shown above, or return your Claim Form Certified
Mail, Return Receipt Requested. If you move, you must immediately send your new address to the
Settlement Administrator at the address listed above, otherwise, your Settlement Payment check may
not reach you.
Only Collective Action Members or their legal representatives may submit a Claim Form. Any
executor, administrator, guardian, conservator, or trustee who submits a Claim Form on behalf of a
Collective Action Member or his or her estate must: (1) sign the Claim Form on the Collective Action
Member’s behalf; (2) indicate his or her title as representative (i.e., executor, trustee, etc.); and (3)
submit proof of his or her authority to act on the Collective Action Member’s behalf.
If you have questions about your claim or how to complete this Claim Form, you may call the
Settlement Administrator,____, at 1-800-__________.
        ACCURATE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME.
                                  THANK YOU FOR YOUR PATIENCE.




                                                Page 1 of 2
                                    Questions? Call 1-800-_____Toll-Free
                              POSTMARK DEADLINE: ____________________, 2020
         Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 38 of 48 Page ID
                                           #:2404
                                        CONSENT, CLAIM FORM AND RELEASE
                                                                (Please Type or Print)

                                            Sofia Avalos, et al. v. Papa John’s International,, Inc., et al.,
                                                       Case No. 8:18-CV-00871 (C.D. Cal.)

This Consent, Claim Form and Release (“Claim Form”) includes information based on Papa John’s International, Inc.’s (“PJI’s”)
records. IT IS IMPORTANT THAT YOU CAREFULLY CHECK THE INFORMATION PROVIDED AND CORRECT ANY
INACCURACIES. You also must provide any information requested that is not already provided.

NOTE: This Claim Form Must Be Postmarked No Later Than [ ].
---------------------------------------------------------------------------------------------------------------------------------------



                                                         CONSENT TO JOIN LITIGATION

I have reviewed the Notice of Collective Action Settlement accompanying this form, and I consent to join this lawsuit and have
Collective Action Counsel represent me in this lawsuit pursuant to 29 U.S.C. § 216(b).
                                                                       CLAIM FORM
By signing below, I attest that I was employed by PJI as a non-exempt hourly-paid employee, who worked at any location in the United
States owned by PJI at any time between May 17, 2015 and January 21, 2020, and completed training using the Cornerstone Learning
Management System.
                                                                          RELEASE
By signing below, I (and each of my respective past, present, and future attorneys, agents, heirs, guardians, executors, administrators,
and representatives) fully and finally discharge and release all wage and hour claims made against PJI and its affiliates, related
companies, and independent contractors, pursuant to any alleged employment/joint-employment relationship or apparent agency, or
that reasonably could have arisen out of the same facts alleged in the Fifth Amended Complaint, whether known or unknown, accrued
to this date including but not limited to any and all claims under the Fair Labor Standards Act; any and all claims arising out of any
state wage, minimum wage, or overtime laws; and any claims relating to unpaid wages, minimum wage, and overtime compensation
against PJI and its affiliates, related companies, and independent contractors, pursuant to any alleged employment/joint-employment
relationship or apparent agency, accrued to this date, including any of these entities’ predecessors and successors and, in their
capacities as such, all of their present, past, and future directors, officers, employees, representatives, attorneys, insurers, reinsurers,
agents and assigns, as well as all of these entities’ affiliates, parent or controlling corporations, partners, divisions and subsidiaries.




DATED: _________________, 2020.                                  ___________________________________________________
                                                                 SIGNATURE              [required]

                                                                 ___________________________________________________
                                                                 [PRINT NAME] [required]

                                                                 ___________________________________________________
                                                                 [ADDRESS]              [required]

                                                                 ___________________________________________________
                                                                 [TELEPHONE NUMBER] [required]




                                                              Page 2 of 2
                                                  Questions? Call 1-800-_____Toll-Free
                                            POSTMARK DEADLINE: ____________________, 2020
Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 39 of 48 Page ID
                                  #:2405




                        EXHIBIT E
                Franchisee Plaintiff Settlement Notice
     Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 40 of 48 Page ID
                                       #:2406



 Avalos, et al. v. Papa John’s International, Inc., et al., 18-CV-00871 (C.D. Cal.)
     This is not a solicitation. This is not a lawsuit against you and you are not being sued.

    NOTICE OF SETTLEMENT, YOUR RIGHTS, AND OPTIONS TO CONSIDER
Because you previously filed a consent to join the above referenced litigation but were not
employed by Papa John’s International, Inc. (“PJI”) at a PJI corporate-owned store, you may
receive a complimentary Papa John’s Gift Card if you follow the procedure explained in this
notice.

TO CLAIM YOUR PAPA JOHN’S GIFT CARD: You must complete, sign, date & mail the
enclosed Release postmarked on or before [insert date that is 60 days of mailing notice packets].
                           PLEASE READ THIS NOTICE CAREFULLY




                                              Page 1 of 6
                                    Questions? Call [Phone Number]
                                  Postmark Deadline: _________, 2020
      Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 41 of 48 Page ID
                                        #:2407




1.     What Is The Purpose Of This Notice?

The purpose of this Notice is to let you know that there is a lawsuit pending in the U.S. District Court
for the Central District of California, AND THAT YOU MAY BE ENTITLED TO A PAPA JOHN’S
GIFT CARD AS PART OF THE SETTLEMENT OF THIS ACTION.

On May 17, 2018, Plaintiffs Sofia Avalos, Louis Breazil, Jared Carroll, and Alvin English filed a
lawsuit against PJI in the U.S. District Court for the Central District of California, Case No. 8:18-CV-
00871, seeking unpaid wages under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219, as
a collective action, along with separate class claims under California and New York state law. On July
12, 2018, the lawsuit was amended to add Max Coover as a Plaintiff. Plaintiffs Sofia Avalos, Louis
Breazil, Jared Carroll, Alvin English, and Max Coover are known as “Plaintiffs.” Together, Plaintiffs
and PJI are known as “the Parties.”

This lawsuit alleges that during the time period alleged, PJI required Plaintiffs and other similarly
situated persons to engage in mandatory training through its corporate website without paying them for
the time they spent performing such work and that, as a result, Plaintiffs and the other similarly situated
persons were denied minimum wages and/or overtime wages in violation of the FLSA. PJI denies
those allegations.

On December 27, 2019, after good-faith, arms-length negotiations presided over by two experienced
and well-respected mediators, the Parties reached an agreement to settle this lawsuit (“Settlement”).

The Settlement represents a compromise and settlement of highly disputed claims. Nothing in the
Settlement is intended to or will be construed as an admission by PJI that Plaintiffs’ claims in this
lawsuit have merit, that it has any liability to Plaintiffs or any other individuals on those claims, or that
it is a joint-employer of Plaintiffs or any other individual who submitted a consent to join in the lawsuit
but was not employed by PJI at a PJI corporate-owned store.

Plaintiffs, PJI, and their respective counsel have concluded that the Settlement is advantageous
considering the risks and uncertainties to each side of continued litigation. The Parties and their
counsel have determined that the Settlement is fair, reasonable, and adequate and is in the best interests
of all Parties.

On [____, 2020], the Court entered an order that:

       1.     Granted approval of the proposed Settlement; and
       2.     Ordered dismissal of the claims of any individuals who previously filed consents to join
              this litigation and who sign and return the Release, with prejudice; and entering final
              judgment dismissing them from the Litigation.




                                                  Page 2 of 6
                                        Questions? Call [Phone Number]
                                      Postmark Deadline: _________, 2020
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The following is a summary of the Settlement provisions. The specific and complete terms of the
proposed Settlement are stated in the Settlement and Release Agreement, a copy of which is filed
with the Clerk of the Court, U.S. District Court, Central District of California.

2.     Why Did Plaintiffs Seek Settlement Approval?

Plaintiffs seek approval of the Settlement because they reached a proposed Settlement with PJI which
they believe is fair, reasonable, adequate, and in the best interests of all Parties.

3.     What Is PJI’s Position On Settlement?

PJI views this Settlement as a compromise and an effort to avoid additional litigation expenses. It is
not admitting to the allegations in the lawsuit. PJI denies that any of its practices at issue in this lawsuit
were, or are, unlawful. PJI further denies that it is a joint-employer of Plaintiffs or any other individual
who submitted a consent to join in the lawsuit but was not employed by PJI at a PJI corporate-owned
store. PJI reserves the right to object to all claims if the Settlement is not finalized for any reason. The
Court file has the Settlement documents with more information on this lawsuit and the proposed
Settlement.

4.     Why Did I Get This Notice?

You received this notice because you previously filed a consent to opt-in to this lawsuit but were not
employed by PJI at a PJI corporate-owned store.

5.     Who Are The Parties In This Lawsuit?

Plaintiffs Sofia Avalos, Louis Breazil, Jared Carroll and Alvin English brought the action against Papa
John’s International, Inc. as the Defendant. On July 12, 2018, the lawsuit was amended to add Max
Coover as an additional Plaintiff. On [____, 2020], the lawsuit was amended again to name Sarah
Ponder as an additional Plaintiff to represent in the lawsuit certain individuals who were employed by
PJI, and to strike all of the class and/or collective claims of Plaintiffs who were not employed by PJI at
PJI corporate-owned stores.

6.     What Will I Receive From The Settlement?

Under the Settlement, you are eligible to receive a complimentary Papa John’s Gift Card (“Gift Card”)
with a fixed dollar amount of $50.00.

Your Gift Card will be mailed to you no later than forty-four (44) days after the Settlement
Administrator has received your timely and correctly completed Release.

7.     How Can I Use The Gift Card?

Use of the Gift Card that you are eligible to receive as part of this Settlement will be subject to PJI’s
Gift Card Terms and Conditions, available at papajohns.com/gift-cards. The Gift Card may be applied


                                                  Page 3 of 6
                                        Questions? Call [Phone Number]
                                      Postmark Deadline: _________, 2020
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                                       #:2409


towards the purchase of food, beverage or gratuity from any participating Papa John’s owned and
affiliated restaurant location in the United States, including at any participating restaurant location
owned and operated by PJI or any participating restaurant location independently owned and operated
by a Papa John’s franchisee. The Gift Card may be used either in-store at the restaurant location, by
telephone, or online at papajohns.com. The Gift Card may be used in conjunction with any other Papa
John’s gift card, coupon, or discount. The Gift Card may be used any day of the year. You will not
have to identify yourself or demonstrate your entitlement to the Gift Card under this Settlement in
order to use the Gift Card. The Gift Card will not have an expiration date. The Gift Card will be
freely-transferrable to third-parties. The Gift Card will not be redeemable for cash, and you will not be
entitled to the cash value of any balance remaining on the Gift Card, unless required by law. You will
not be entitled to a new Gift Card with any remaining balance and the Gift Card will not be replaced if
the Gift Card is lost, stolen, damaged, or destroyed. The Gift Card will be treated as non-wage income.

8.     Who Are The Attorneys Representing The Parties?

 For Plaintiffs:                                   For PJI:

 Todd Slobin                                       Gerald L. Maatman, Jr.
 Ricardo J. Prieto                                 Michael D. Jacobsen
 Melinda Arbuckle                                  SEYFARTH SHAW, LLP
 SHELLIST LAZARZ SLOBIN LLP                        233 South Wacker Drive, Suite 8000
 11 Greenway Plaza, Suite 1515                     Chicago, Illinois 60606
 Houston, Texas 77046                              Telephone: (312) 460-5000
 Telephone: (713) 621-2277                         Fax: (312) 460-7000
 Fax: (713) 621-0993                               Email: gmaatman@seyfarth.com
 Email: tslobin@eeoc.net                           Email: mjacobsen@seyfarth.com
 Email: rprieto@eeoc.net
 Email: marbuckle@eeoc.net                         Jill A. Porcaro
                                                   SEYFARTH SHAW LLP
 Allen R. Vaught                                   2029 Century Park East, Suite 3500
 VAUGHT FIRM, LLC                                  Los Angeles, California 90067
 1910 Pacific Avenue, Suite 9150                   Telephone: (310) 277-7200
 Dallas, Texas 75201                               Fax: (310) 201-5219
 Telephone: (214) 675-8603                         Email: jporcaro@seyfarth.com
 Fax: (214) 261-5159
 Email: allen@vaughtfirm.com



9.     What Are My Rights With Regard To This Matter?

You have two options. Each option has its own consequences, which you should understand before
making your decision. Your rights regarding each option, and the procedure you must follow to select
each option, follow.

                                                 Page 4 of 6
                                       Questions? Call [Phone Number]
                                     Postmark Deadline: _________, 2020
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A.     Option One: Execute a Release and Receive a Gift Card.

To receive a Gift Card, you must sign and date the enclosed Release, and return it to the Settlement
Administrator in the envelope enclosed for your convenience, or to the address shown below, post-
marked on or before [_____].

       [Insert address here]

It is strongly recommended that you retain proof of your timely mailing until receipt of your Gift
Card.

The Settlement Administrator will process your Release and send you a Gift Card at a later date.

B.     Option Two: Do Nothing.

If you do not return a signed, dated, and timely postmarked Release, you will not receive a Gift Card,
and you will not release any claims against PJI.

C.     Binding Nature of Release and Judgment.

The Release of Claims, shown below, and subsequent judgment will only bind individuals who have
returned a dated, signed and timely Release. Pursuant to the Settlement, however, this lawsuit will be
dismissed with prejudice, regardless of which option you choose.

10.    Release Of All Wage & Hour Claims.

By signing and timely returning the Release, you and each of your respective past, present, and future
attorneys, agents, heirs, guardians, executors, administrators, and representatives releases all wage and
hour claims made against PJI and its affiliates, related companies, and independent contractors,
pursuant to any alleged employment/joint-employment relationship or apparent agency, or that
reasonably could have arisen out of the same facts alleged in the lawsuit, whether known or unknown,
accrued to this date including but not limited to any and all claims under the FLSA; any and all claims
arising out of any state wage, minimum wage, or overtime laws; and any claims relating to unpaid
wages, minimum wage, and overtime compensation against PJI and its affiliates, related companies,
and independent contractors, pursuant to any alleged employment/joint-employment relationship or
apparent agency, accrued to this date, including any of these entities’ predecessors and successors and,
in their capacities as such, all of their present, past, and future directors, officers, employees,
representatives, attorneys, insurers, reinsurers, agents and assigns, as well as all of these entities’
affiliates, parent or controlling corporations, partners, divisions and subsidiaries.

If the Settlement does not become final for any reason, the litigation will continue.

11.    Additional Important Information.




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                                       Questions? Call [Phone Number]
                                     Postmark Deadline: _________, 2020
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You will receive a Gift Card only if you return a signed and dated Release post-marked on or before [
].

It is your responsibility to ensure that the Settlement Administrator has received your timely Release.
You may contact the Settlement Administrator at the toll-free number listed at the bottom of each page
to confirm it has been timely received. It also is your responsibility to keep a current address on file
with the Settlement Administrator to ensure that you receive your Gift Card.

12.    Who Can I Contact If I Have Further Questions?

The Court-appointed Settlement Administrator for this Settlement is:
                                                 [NAME]
                                               [ADDRESS]
                                          [TELEPHONE NUMBER]

PLEASE DO NOT CALL THE COURT, PJI, or its supervisors, managers, human resources,
etc., or attorneys to discuss this Settlement.

If you have questions, you may call the Settlement Administrator, toll free at [_____].

Ask about the Avalos Settlement.

You may also call any of the attorneys listed as the attorneys representing Plaintiffs in Section VIII
above.




                                                 Page 6 of 6
                                       Questions? Call [Phone Number]
                                     Postmark Deadline: _________, 2020
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                                  #:2412




                        EXHIBIT F
                      Franchisee Plaintiff Release
      Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 47 of 48 Page ID
                                     RELEASE
                                         #:2413
                                Avalos, et al. v. Papa John’s International,, Inc., et al.,
                                         Case No. 8:18-CV-00871 (C.D. Cal.)


Name: __________________________________

Address: _________________________________


                                               INSTRUCTIONS
If you wish to participate in the Settlement in this litigation and receive your complimentary Papa John’s Gift
Card described in the accompanying Notice of Settlement (“Gift Card”), YOU MUST COMPLETE, SIGN,
DATE AND RETURN THIS RELEASE POSTMARKED ON OR BEFORE [____, 2020], IN THE
ENCLOSED POSTAGE-PAID RETURN ENVELOPE OR BY FIRST-CLASS U. S. MAIL, OR THE
EQUIVALENT, TO THE FOLLOWING ADDRESS:
                               [Settlement Administrator Contact Information]
                                                _________
                                        Toll-Free: 1-800-________
You should keep a copy of the completed Release and the envelope reflecting the postmark date on
which you mailed the Release for your records. Failure to provide any of the information requested
may delay verification of the claim or result in rejection of the claim. If you would like an
acknowledgment of receipt for these documents, you may call the Settlement Administrator at the toll-
free number shown above, or return your Release Certified Mail, Return Receipt Requested. If you
move, you must immediately send your new address to the Settlement Administrator at the address
listed above, otherwise, your Gift Card may not reach you.
Only you or your legal representative may submit a Release. Any executor, administrator, guardian,
conservator, or trustee who submits a Release on your behalf or on behalf of your estate must: (1) sign
the Release on your behalf; (2) indicate his or her title as representative (i.e., executor, trustee, etc.);
and (3) submit proof of his or her authority to act on your behalf.
If you have questions about your claim or how to complete this Release, you may call the Settlement
Administrator, __, at 1-800-________.
        ACCURATE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME.
                                  THANK YOU FOR YOUR PATIENCE.




                                                Page 1 of 2
                                    Questions? Call 1-800-_____Toll-Free
                              POSTMARK DEADLINE: ____________________, 2020
         Case 8:18-cv-00871-DOC-JC Document 216-1 Filed 03/23/20 Page 48 of 48 Page ID
                                           #:2414
                                                                       RELEASE
                                                                (Please Type or Print)

                                            Sofia Avalos, et al. v. Papa John’s International,, Inc., et al.,
                                                       Case No. 8:18-CV-00871 (C.D. Cal.)


NOTE: This Release Must Be Postmarked No Later Than [ ].
---------------------------------------------------------------------------------------------------------------------------------------



                                                                          RELEASE
By signing below, I (and each of my respective past, present, and future attorneys, agents, heirs, guardians, executors, administrators,
and representatives) fully and finally discharge and release all wage and hour claims made against Papa John’s International, Inc. and
its affiliates, related companies, and independent contractors, pursuant to any alleged employment/joint-employment relationship or
apparent agency, or that reasonably could have arisen out of the same facts alleged in the lawsuit, whether known or unknown,
accrued to this date including but not limited to any and all claims under the Fair Labor Standards Act; any and all claims arising out
of any state wage, minimum wage, or overtime laws; and any claims relating to unpaid wages, minimum wage, and overtime
compensation against Papa John’s International, Inc. and its affiliates, related companies, and independent contractors, pursuant to any
alleged employment/joint-employment relationship or apparent agency, accrued to this date, including any of these entities’
predecessors and successors and, in their capacities as such, all of their present, past, and future directors, officers, employees,
representatives, attorneys, insurers, reinsurers, agents and assigns, as well as all of these entities’ affiliates, parent or controlling
corporations, partners, divisions and subsidiaries.




DATED: _________________, 2020.                                  ___________________________________________________
                                                                 SIGNATURE              [required]

                                                                 ___________________________________________________
                                                                 [PRINT NAME] [required]

                                                                 ___________________________________________________
                                                                 [ADDRESS]              [required]

                                                                 ___________________________________________________
                                                                 [TELEPHONE NUMBER] [required]




                                                              Page 2 of 2
                                                  Questions? Call 1-800-_____Toll-Free
                                            POSTMARK DEADLINE: ____________________, 2020
